

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


								




NOS. PD-0372-12, PD-0373-12, PD-0374-12 &amp; PD-0378-12
					



DINO C. MEJIA, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SECOND COURT OF APPEALS


 DALLAS COUNTY





		Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed:  July 25, 2012

Do Not Publish


